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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 LYNN SULLIVAN,
                    Plaintiff,                CV 19-80-GF-BMM
         vs.                                  ORDER GRANTING
 UNITED STATES OF AMERICA;                    MOTION TO CONTINUE
 VISTA STAFFING SOLUTIONS, INC.;              DEADLINES
 STEPHEN SCHWARTZ, and
 NAVTEJPAL SINGH KAHLON,

                    Defendants.
 UNITED STATES OF AMERICA,
                   Cross-claimant,
         vs.
 VISTA STAFFING SOLUTIONS, INC.;
 STEPHEN SCHWARTZ, and
 NAVTEJPAL SINGH KAHLON,

                    Cross defendants.


      The parties have filed a joint motion to extend deadlines set in this Court’s

order granting the motion to continue deadlines (Doc. 35). Good cause appearing,

IT IS HEREBY ORDERED that the motion is GRANTED. The current pretrial

deadlines are vacated, and the discovery deadlines are set forth as follows:




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All parties shall disclose liability
experts on or before:                         June 30, 2022

Plaintiffs shall disclose damages experts
on or before:                                 June 30, 2022

Defendants shall disclose damages experts
on or before:                                 July 30, 2022

All parties shall disclose rebuttal experts
on or before:                                 August 30, 2022

Discovery shall close on:                     September 30, 2022

Telephonic Status conference with the
Court to set trial date (877-402-9753;
access code: 5136505):                        October 3, 2022 at 1:30 p.m.


Dated this 8th day of March, 2022.




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